                                                                                         Case 2:19-cv-00166-WBS-KJN Document 34 Filed 10/22/20 Page 1 of 4


                                                                                    1 Joshua Konecky, SBN 182897
                                                                                      Leslie H. Joyner, SBN 262705
                                                                                    2 Nathan B. Piller, SBN 300569
                                                                                      SCHNEIDER WALLACE
                                                                                    3 COTTRELL KONECKY LLP
                                                                                      2000 Powell Street, Suite 1400
                                                                                    4 Emeryville, CA 94608
                                                                                      Telephone: (415) 421-7100
                                                                                    5 Facsimile: (415) 421-7105
                                                                                      jkonecky@schneiderwallace.com
                                                                                    6 ljoyner@schneiderwallace.com

                                                                                    7 Attorneys for Plaintiffs

                                                                                    8
                                                                                      Mara D. Curtis (SBN 268869)
                                                                                    9 mcurtis@reedsmith.com
                                                                                      Brittany M, Hernandez (SBN 299044)
                                                                                   10 mcurtis@reedsmith.com
                                                                                      REED SMITH LLP
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 355 South Grand Avenue
                                                                                      Suite 2800
                                                                                   12 Telephone: +1 213 457 8000
                                                                                      Facsimile: + 1 213 457 8080
REED SMITH LLP




                                                                                   13
                                                                                      Attorneys for Defendants
                                                                                   14 RYDER LAST MILE, INC. (f/k/a MXD
                                                                                      GROUP, INC.) and RYDER SYSTEM, INC.
                                                                                   15

                                                                                   16                              UNITED STATES DISTRICT COURT

                                                                                   17                             EASTERN DISTRICT OF CALIFORNIA

                                                                                   18 JOSEPH KIMBO, an individual; on behalf of           Case No. 2:19-CV-00166-WBS-KJN
                                                                                      himself and all others similarly situated,
                                                                                   19                                                     ORDER GRANTING STIPULATION TO
                                                                                                             Plaintiffs,                  AMEND THE CLASS ACTION
                                                                                   20                                                     SETTLEMENT AGREEMENT AND
                                                                                   21         vs.                                         CONTINUE THE HEARING DATE ON
                                                                                                                                          THE MOTION FOR FINAL APPROVAL
                                                                                   22 MXD GROUP, INC., a California corporation;          OF CLASS ACTION SETTLEMENT
                                                                                      RYDER SYSTEM, INC., a Florida Corporation;
                                                                                   23 and DOES 1 through 10, inclusive,

                                                                                   24
                                                                                                             Defendants.
                                                                                   25
                                                                                              Having considered the Stipulation filed by the parties on October 21, 2020 and for good
                                                                                   26

                                                                                   27
                                                                                      Case No.: 2:19-CV-00166-WBS-KJN                 –1–       ORDER GRANTING STIPULATION
                                                                                   28 JOSEPH KIMBO v. MXD GROUP, INC.                                 TO AMEND CLASS ACTION
                                                                                                                                               SETTLEMENT AND CONTINUE THE
                                                                                                                                                 HEARING DATE ON THE MOTION
                                                                                                                                                          FOR FINAL APPROVAL
                                                                                          Case 2:19-cv-00166-WBS-KJN Document 34 Filed 10/22/20 Page 2 of 4


                                                                                    1 cause appearing:

                                                                                    2         IT IS HEREBY ORDERED that without affecting the finality of the August 6, 2020

                                                                                    3 Memorandum and Order Re: Motion for Preliminary Approval of Class Action Settlement, Dkt. No.

                                                                                    4 30 (“Order”), the Court finds that the First Amendment to the Class Action Settlement Agreement

                                                                                    5 falls within the range of reasonableness and is fair, just, and adequate;

                                                                                    6         IT IS FURTHER ORDERED THAT:

                                                                                    7         1.      Paragraph 81(d) of the Class Action Settlement Agreement shall be amended and

                                                                                    8 modified to revise the underlined language as follows:

                                                                                    9         (d)     Finally, the Net Settlement Amount shall be divided among all Settlement Class

                                                                                   10                 Members Proportionally. Individual Settlement Payments to each Settlement Class
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                 Member shall be determined based on the number of his or her Qualifying Motor

                                                                                   12                 Carrier Workweeks or Qualifying Non-Carrier Workweeks during the Class Period.
REED SMITH LLP




                                                                                   13                 The Net Settlement Amount shall be divided by the total number of Qualifying Non-

                                                                                   14                 Carrier Workweeks times 1 and Qualifying Motor Carrier Workweeks times 4 for all

                                                                                   15                 Settlement Class Members during the Class Period. The result of this division shall

                                                                                   16                 yield a Workweek Payment Rate for Class Members.

                                                                                   17                     (i) The gross amount of each Motor Carrier Class Member’s Individual

                                                                                   18                     Settlement Payment shall be calculated by multiplying the number of Qualifying

                                                                                   19                     Motor Carrier Workweeks applicable to that Settlement Class Member times 4

                                                                                   20                     times the Workweek Payment Rate for Class Members. Governmentally-required

                                                                                   21                     employee tax withholdings shall be deducted from that portion of the Individual

                                                                                   22                     Settlement Payment allocated as wages.

                                                                                   23                     (ii) The gross amount of each Non-Carrier Class Member’s Individual Settlement

                                                                                   24                     Payment shall be calculated by multiplying the number of Qualifying Non-Carrier

                                                                                   25                     Workweeks applicable to that Settlement Class Member times 1 times the

                                                                                   26                     Workweek Payment Rate for Class Members. Governmentally-required

                                                                                   27
                                                                                      Case No.: 2:19-CV-00166-WBS-KJN                    – 2–      ORDER GRANTING STIPULATION
                                                                                   28 JOSEPH KIMBO v. MXD GROUP, INC                                     TO AMEND CLASS ACTION
                                                                                                                                                  SETTLEMENT AND CONTINUE THE
                                                                                                                                                    HEARING DATE ON THE MOTION
                                                                                                                                                             FOR FINAL APPROVAL
                                                                                          Case 2:19-cv-00166-WBS-KJN Document 34 Filed 10/22/20 Page 3 of 4


                                                                                    1                    employee tax withholdings shall be deducted from that portion of the Individual

                                                                                    2                    Settlement Payment allocated as wages.

                                                                                    3         2.     The corresponding language set forth in the Notice of Class Action and PAGA

                                                                                    4 Settlement (“Notice”) Section 7 (a) shall be modified to change the underlined language as follows:

                                                                                    5 “The Net Settlement Amount shall be divided by the total number of Qualifying Non-Carrier

                                                                                    6 Workweeks times 1 and Qualifying Motor Carrier Class Workweeks times 4 for all Settlement Class

                                                                                    7 Members during the Class Period.”;

                                                                                    8         3.     The deadline for the Settlement Administrator to mail the Notice shall be continued to

                                                                                    9 November 13, 2020;
                                                                                   10         4.     The Final Fairness Hearing shall be continued from December 14, 2020 to February
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 8, 2021 and all corresponding deadlines in the Order (Dkt. 30) shall be continued in accordance with

                                                                                   12 these new dates.
REED SMITH LLP




                                                                                   13

                                                                                   14 IT IS SO ORDERED.

                                                                                   15

                                                                                   16 Dated: October 21, 2020

                                                                                   17

                                                                                   18
                                                                                   19

                                                                                   20

                                                                                   21

                                                                                   22

                                                                                   23

                                                                                   24

                                                                                   25

                                                                                   26

                                                                                   27
                                                                                      Case No.: 2:19-CV-00166-WBS-KJN                 – 3–       ORDER GRANTING STIPULATION
                                                                                   28 JOSEPH KIMBO v. MXD GROUP, INC                                   TO AMEND CLASS ACTION
                                                                                                                                                SETTLEMENT AND CONTINUE THE
                                                                                                                                                  HEARING DATE ON THE MOTION
                                                                                                                                                           FOR FINAL APPROVAL
                                                                                          Case 2:19-cv-00166-WBS-KJN Document 34 Filed 10/22/20 Page 4 of 4


                                                                                    1 STIPULATED AS TO FORM:

                                                                                    2

                                                                                    3 DATED: October 21, 2020                   SCHNEIDER WALLACE
                                                                                                                                COTTRELL KONECKY LLP
                                                                                    4

                                                                                    5
                                                                                                                                By: /s/ Joshua Konecky
                                                                                    6                                           Joshua Konecky
                                                                                                                                Attorneys for Plaintiffs
                                                                                    7

                                                                                    8
                                                                                        DATED: October 21, 2020                 REED SMITH LLP
                                                                                    9
                                                                                   10
                                                                                                                                By: /s/ Mara D. Curtis
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                                           Mara D. Curtis
                                                                                                                                Attorneys for Ryder Last Mile Inc. (formerly
                                                                                   12                                           known as MXD Group Inc.) and Ryder System,
REED SMITH LLP




                                                                                                                                Inc.
                                                                                   13

                                                                                   14

                                                                                   15

                                                                                   16

                                                                                   17

                                                                                   18
                                                                                   19

                                                                                   20

                                                                                   21

                                                                                   22

                                                                                   23

                                                                                   24

                                                                                   25

                                                                                   26

                                                                                   27
                                                                                      Case No.: 2:19-CV-00166-WBS-KJN        – 4–     ORDER GRANTING STIPULATION
                                                                                   28 JOSEPH KIMBO v. MXD GROUP, INC                        TO AMEND CLASS ACTION
                                                                                                                                     SETTLEMENT AND CONTINUE THE
                                                                                                                                       HEARING DATE ON THE MOTION
                                                                                                                                                FOR FINAL APPROVAL
